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13   Attorneys for Plaintiffs

14                                UNITED STATES DISTRICT COURT

15                              NORTHERN DISTRICT OF CALIFORNIA

16                                       SAN JOSE DIVISION

17   IN RE SEAGATE TECHNOLOGY LLC                       No. 5:16-cv-00523-RMW
     LITIGATION
18                                                      STIPULATION AND [PROPOSED]
                                                        ORDER VOLUNTARILY DISMISSING
19                                                      PLAINTIFF ADAM GINSBERG
                                                        WITHOUT PREJUDICE PURSUANT
20                                                      TO CIVIL PROCEDURE RULE 41(a)(1)

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 1            Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, it is hereby stipulated and

 2   agreed, by and between the parties, that plaintiff Adam Ginsberg is dismissed, without prejudice and

 3   without costs. This voluntary dismissal of Adam Ginsberg does not affect any of the claims made in

 4   the Second Consolidated Amended Complaint (ECF No. 62).

 5            In agreeing to this voluntary dismissal, Defendant does not waive its rights under the Federal

 6   Rules of Civil Procedure, including Rules 45 and 26, to seek discovery from Mr. Ginsberg as a

 7   percipient witness/absent member of the putative class. Similarly, Plaintiffs do not waive their right

 8   to seek a protective order under Rule 26 preventing any such discovery.

 9

10   DATED: July 26, 2016                           HAGENS BERMAN SOBOL SHAPIRO LLP

11
                                                    By:       /s/ Steve W. Berman
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     STIPULATION & [PROPOSED] ORDER VOLUNTARILY            -1-
     DISMISSING PLTF ADAM GINSBERG W/O PREJUDICE
     Case No.: 5:16-cv-00523-RSW
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 1                                             SHEPPARD, MULLIN, RICHTER
                                                 & HAMPTON LLP
 2                                             A Limited Liability Partnership
                                               Including Professional Corporations
 3

 4   DATED: July 26, 2016                      By:      /s/ Anna S. McLean            ___
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11                                             Attorneys for Defendant
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              PURSUANT TO STIPULATION, IT IS SO ORDERED.
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     Dated:
16                                                    UNITED STATES DISTRICT JUDGE
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     STIPULATION & [PROPOSED] ORDER VOLUNTARILY       -2-
     DISMISSING PLTF ADAM GINSBERG W/O PREJUDICE
     Case No.: 5:16-cv-00523-RSW
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 1                     ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)
 2            I, Steve W. Berman, am the ECF User whose identification and password are being used to

 3   file this Stipulation and [Proposed] Order Voluntarily Dismissing Plaintiff Adam Ginsberg Without
 4
     Prejudice Pursuant to Civil Procedure Rule 41(a)(1). In compliance with Civil Local Rule 5-1(i)(3),
 5
     I hereby attest that all signatories have concurred in this filing.
 6

 7   Dated: July 26, 2016                            By:       /s/ Steve W. Berman
                                                           Steve W. Berman
 8

 9

10                                       CERTIFICATE OF SERVICE

11            I hereby certify that on July 26, 2016, I electronically filed the foregoing document using the

12   CM/ECF system which will send notification of such filing to the e-mail addresses registered in the

13   CM/ECF system, as denoted on the Electronic Mail Notice List.

14
                                                                    /s/ Steve W. Berman
15                                                                 STEVE W. BERMAN

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     STIPULATION & [PROPOSED] ORDER VOLUNTARILY              -3-
     DISMISSING PLTF ADAM GINSBERG W/O PREJUDICE
     Case No.: 5:16-cv-00523-RSW
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